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                                  123199



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


  In Re: COOK MEDICAL, INC., IVC                 Case No. 1:14-ml-2570-RLY-TAB
  FILTERS MARKETING, SALES                       MDL No. 2570
  PRACTICES AND PRODUCTS LIABILITY
  LITIGATION


  This Document Relates to Plaintiff(s):

  Diana Holguin (1:20-cv-06166-RLY-TAB)




         ORDER PERMITTING WITHDRAWAL OF ATTORNEY APPEARANCE

         Plaintiff Diana Holguin’s Motion to Withdraw Attorney Appearance of Jade M. Ruiz is

 GRANTED, it is therefore,

         ORDERED that Jade M. Ruiz is withdrawn as attorney of record for Plaintiff Diana

 Holguin and is relieved of the duties and responsibility of counsel for Plaintiff Diana Holguin

 effective immediately. Basil E. Adham and Johnson Law Group shall continue to serve as counsel

 of record for Plaintiff.



 Date: ____________

                                                    ____________________________________
                                                    Tim A. Baker
                                                    United States Magistrate Judge
                                                    Southern District of Indiana
